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                     IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA

                                      SENTENCING
UNITED STATES OF AMERICA,                     )               COURT MINUTES - CRIMINAL
                                              )
                              Plaintiff,      )        Case No:        15-cr-49 (7) (MJD/FLN)
                                              )        Date:           November 16, 2016
                 v.                           )        Courthouse:     Minneapolis
                                              )        Courtroom:      13E
Guled Ali Omar (7)                            )        Court Reporter: Staci Heichert
                                              )        Time Commenced: 1:40 p.m.
                                              )        Time Concluded: 3:00 p.m.
                              Defendant. )             Time in Court:  1 hour and 20 minutes
                                              )
Before Michael J. Davis, United States District Judge.
APPEARANCES:
   For Plaintiff:    John Docherty, Andrew Winter and Julie Allyn, Assistant U.S. Attorneys
   For Defendant: Glenn Bruder, CJA Appointed Attorney
: Sentencing.
: Defendant’s PSI Objections are Denied. Defendant’s Objection to the Terrorism Enhancement was Denied.
IT IS ORDERED:
Defendant is sentenced to: 420 months custody of the BOP; supervised release for life which consists of:

  Count.      Guilty                         BOP                                     SR
   Nos.       Verdict
    1rs          X           420 months to run concurrently with         Life to run concurrently with
                                Counts 2rs, 3rs, 4rs and 10rs            Counts 2rs, 3rs, 4rs and 10rs
    2rs          X           180 months to run concurrently with        Life to run concurrently with
                                Counts 1rs, 3rs, 4rs and 10rs           Counts 1rs, 3rs, 4rs and 10rs
    3rs          X           180 months to run concurrently with        Life to run concurrently with
                                Counts 1rs, 2rs, 4rs and 10rs           Counts 1rs, 2rs, 4rs and 10rs
    4rs          X           180 months to run concurrently with        Life to run concurrently with
                                Counts 1rs, 2rs, 3rs, and 10rs          Counts 1rs, 2rs, 3rs, and 10rs
   10rs          X         60 months to run concurrently with Counts     Life to run concurrently with
                                      1rs, 2rs, 3rs, and 4rs             Counts 1rs, 2rs, 3rs, and 4rs
   : Special conditions of: See J&C for special condition.
   : Defendant sentenced to pay:
   : Restitution in the amount of $5,000.00 is due immediately
   : Special assessment in the amount of $500.00 to be paid.
   : Defendant is remanded to the custody of the USM.

Date: November 16, 2016                                  s/KW
                                                      Courtroom Deputy to Judge Michael J. Davis
